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                                          U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      November 3, 2020

Hon. Edgardo Ramos
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

   Re:     United States v. Rolando Heredia, 20-cr-238 (ER)

Dear Judge Ramos:

       This Court held a status conference in the above-captioned case on July 24, 2020, at which
the Court excluded time under the Speedy Trial Act until the next status conference. Because
another status conference has not yet been scheduled, the Government respectfully requests that
time under the Speedy Trial Act be excluded from the date of this letter until January 4, 2020. The
exclusion will allow the parties to continue discussing a potential pretrial resolution to this case.
The defendant’s attorney, Sarah Sacks, Esq., does not object to the requested exclusion of time.


                                              Respectfully submitted,

                                              AUDREY STRAUSS
                                              Acting United States Attorney



                                          by: _____________________________
                                              Thomas S. Burnett
                                              Assistant United States Attorney
                                              (212) 637-1064


Speedy trial time is excluded from November 3, 2020, until January 4, 2020, in the interest of
justice. A pretrial conference will be held on January 7, 2021 at 10:30 a.m.

SO ORDERED.



                                                                           11/5/2020
